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  8                       UNITED STATES DISTRICT COURT
  9                    SOUTHERN DISTRICT OF CALIFORNIA
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 11 BORREGO COMMUNITY HEALTH                  Case No. 3:22-cv-01056-AJB-AGS
    FOUNDATION, a California nonprofit
 12 public benefit corporation,
 13              Plaintiff,
                                              ORDER GRANTING JOINT
 14        vs.                                MOTION TO EXTEND TIME TO
 15 KAREN HEBETS, an individual, et al.,      FILE RESPONSE TO COMPLAINT
 16                                           (Doc. Nos. 8, 9 and 11)
                 Defendants.
 17
 18        Upon review of the Joint Motion to Extend Time to File Response to Complaint
 19 filed by Plaintiff and Defendants, and good cause appearing, the Motion is hereby
 20 GRANTED. The Defendants must file an answer, or otherwise respond, to the
 21 Complaint on or before September 29, 2022.
 22        IT IS SO ORDERED.
 23 Dated: August 25, 2022
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                                                               Case No. 3:22-cv-01056-AJB-AGS
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